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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                     CASE NO. 10-00228-01/USM NO. 09894-035

 VERSUS                                       JUDGE ROBERT G. JAMES

 EMMETT L. MINOR, JR.                         MAG. JUDGE KAREN L. HAYES


                                   MEMORANDUM ORDER

        On November 6, 2015, the Court issued a Ruling [Doc. No. 537] and Order [Doc. No. 538],

 finding that, pursuant to Dorsey v. United States, 132 S.Ct. 2321 (2012), Defendant Emmett L.

 Minor, Jr. (“Minor”) was eligible for a sentence reduction under the Fair Sentencing Act and

 Amendment 782 to the United States Sentencing Guidelines. The United States Probation Office,

 the United States Attorney, and counsel for Minor agreed that his Guideline range of imprisonment

 should be reduced to 87-108 months based on an amended total offense level of 27 and a criminal

 history category of III. The Court reduced Minor’s term of imprisonment to 87 months.

        Since the Court’s Ruling, the Office of the Federal Public Defender was allowed to withdraw,

 and Minor now represents himself. He filed a motion for reconsideration [Doc. No. 545] arguing

 that the Court erred by not reducing his sentence further. Minor contends that he was charged with

 conspiracy to distribute and to possess with intent to distribute 50 grams of cocaine base.

 Accordingly, Minor argues that his Guideline range should have been calculated using the 50 grams

 of cocaine base, which would have resulted in a greater reduction to his sentence.

        However, Minor misstates the record. He was charged in the Indictment with conspiracy to

 distribute and to possess with the intent to distribute “50 grams and more” of cocaine base. [Doc.
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 No. 23]. Ultimately, he was held accountable for 5 kilograms of cocaine powder. [Doc. No. 418].

 Minor’s original sentence based on his accountability for this amount of cocaine powder was upheld

 on appeal. [Doc. No. 466].

        For purposes of consideration under 18 U.S.C. § 3582(c)(2), the Probation Office correctly

 calculated his offense level. Minor is not entitled to a further reduction. Accordingly,

        IT IS ORDERED that his motion for reconsideration [Doc. No. 545] is DENIED.

        MONROE, LOUISIANA, this 4th day of December, 2015.




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